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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

HERMAN H. LEFORS, JR,
#562195                                                                       PLAINTIFF

V.                           CASE NO. 3:20-CV-301-BSM-BD

KEITH BOWERS                                                               DEFENDANT

                                           ORDER

       In this case, Plaintiff Herman H. LeFors, Jr. claims that Defendant Bowers denied

him access to courts. (Doc. No. 2) Mr. LeFors has now filed a motion for leave to

supplement or amend the complaint. (Doc. No. 5) He has not explained, however, how he

proposes to supplement or amend his complaint.

       If Mr. LeFors wants to amend or supplement his complaint, he must attach a

proposed amended or supplemental complaint to a motion for leave to amend. He is not

required to file a brief in support. Mr. LeFors is reminded that additional claims must be

factually related to the claim that is pending in this lawsuit.

       The motion to amend (Doc. No. 5) is DENIED, without prejudice, this 20th day of

October, 2020.

                                                ___________________________________
                                                UNITED STATES MAGISTRATE JUDGE
